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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 IN RE: CHINESE-MANUFACTURED                       MDL NO. 2047
 DRYWALL PRODUCTS LIABILITY                        SECTION: L
 LITIGATION

 THIS DOCUMENT RELATES TO:                         JUDGE FALLON
                                                   MAG. JUDGE WILKINSON
 Abel, et al. v. Taishan Gypsum Co., Ltd., f/k/a
 Shandong Taihe Dongxin Co., Ltd., et al
 Case No. 11-cv-080 (E.D. La.)

 Almeroth, et al. v. Taishan Gypsum Co., Ltd
 f/k/a Shandong Taihe Dongxin Co., Ltd., et al
 Case No. 12-cv-0498 (E.D. La.)

 Amato, et al. v. Liberty Mutual Insurance
 Company, Case No. 2:10-cv-00932 (E.D.La.)

 Germano et al. v. Taishan Gypsum Co., Ltd. et
 al.
 Case No. 2:09-cv-06687 (E.D. La.)

 Gross, et al. v. Knauf Gips, KG, et al
 Case No. 09-cv-6690 (E.D. La.)

 Haya, et al. v. Taishan Gypsum Co., Ltd f/k/a
 Shandong Taihe Dongxin Co., Ltd, et al
 Case No. 11-cv-1077 (E.D. La.)

 Wiltz, et al. v. Beijing New Building Materials
 Public Limited Co., et al
 Case No. 10-cv-361 (E.D. La.)


                       MEMORANDUM IN SUPPORT OF
                   MOTION OF SETTLEMENT CLASS COUNSEL
              FOR LEAVE OF COURT TO EXCEED PAGE LIMITATION

MAY IT PLEASE THE COURT:

       Settlement Class Counsel for the Four Chinese Drywall Class Settlements Relating to

Virginia and Certain Other Remaining Claims, is filing herewith a Motion for an Order (1)
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Certifying Each of Four Chinese Drywall Class Settlements (Nationwide Insureds Settlement

Agreement, Porter-Blaine/Venture Supply Settlement Agreement, Tobin Trading and Installers

Settlement Agreement, and Builders Mutual Insureds Settlement Agreement) Relating to

Virginia and Certain Other Remaining Claims; (2) Granting Final Approval to the Four Chinese

Drywall Class Settlements; and (3) Approving an Allocation Plan for the Four Class Settlements.

The Memorandum of Law in Support of the Motion for an Order (1) Certifying Each of Four

Chinese Drywall Class Settlements (Nationwide Insureds         Settlement Agreement, Porter-

Blaine/Venture Supply Settlement Agreement, Tobin Trading and Installers Settlement

Agreement, and Builders Mutual Insureds Settlement Agreement) Relating to Virginia and

Certain Other Remaining Claims; (2) Granting Final Approval to the Four Chinese Drywall

Class Settlements; and (3) Approving an Allocation Plan for the Four Class Settlements which is

filed simultaneously with the motion, is in excess of the page limits directed by the Court.

Movants state that additional space is necessary to perform an appropriate analysis of the

applicable law and facts.

                                                   Respectfully submitted,
Dated: May 8, 2013

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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Memorandum of Law in Support of Motion

of Settlement Class Counsel for Leave of Court to Exceed Page Limitations has been served on

Defendants’ Liaison Counsel, Kerry Miller, by e-mail and upon all parties by electronically

uploading the same to LexisNexis File & Serve in accordance with Pre-Trial Order No. 6, and

that the foregoing was electronically filed with the Clerk of Court of the United States District

Court for the Eastern District of Louisiana by using the CM/ECF System, which will send a

notice of electronic filing in accordance with the procedures established in MDL 2047 on this 8th

day of May, 2013.


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